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BEFORE THE JUDICIAL PANEL ONAIUL TIDISTR]CT LITIG`A TION

INRE VIOXXPRODUCTS LIAB]LITYLITIGA TION 05'°?354 "B

    

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iss § 3
CONDITIQNAL TRANSFER ORDER (CTO-M) ;~:: 3? 93

, t . . . . . ;1’
On February lt), 2005, the Panel transferred 138 civil actions to the United States Dis ‘ urt for th'
l§astern District of Louisiana for coordinated or consolidated pretrial proceedings pnrsua:§it to 2&-@.$.(§:
§ l407. Since that time, 542 additional actions have been transferred to the Eastern District of w g

Louisiana_ With the consent of that court, all such actions have been assigned to the Honorable Eldon E.
Fallon_

lt appears that the actions on this conditional transfer order involve questions of fact which are common
to the actions previously transferred to the Eastern District of Louisiana and assigned to lodge Fallon.

l)urstiant to Rule 7.4 ofthe Rules ofProeedure ofthe tludicial Panel on l\»"lultidistrict Litigation, 199
F.R_D. 425, 435-36 (20(}1), these actions are transferred under 28 U.S.C. § 1407 to the Eastern Distriet
of Louisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp.Ed 1352 (J.P.M.L.
2005), and, with the consent ofthat court, assigned to the l'lonorable Eldon E. Fallon.

'l`his order does not become effective until it is filed in the Office ofthe Clerl< ofthe United States
District Court for the Eastern District of l,ouisiana. The transmittal ofthis order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerl<
ofthe Panel within this fifteen (15) day perio'd, the stay will be continued until further order ofthe Panel.

FOR THE PANEL:

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ease 2:05-cv-02354-JDB-imp Documeni 14 Filed 07/25/05 Pagezof 13 Ba§fé'it)“i`?"

SCHEDULE CTO-l4 - TAG-AL()NG ACTIONS

DOCKET NO. 1657

IN RE VIOXX PROI)UCTS LIABILITY LITIGA'I`ION

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AI,/\BAMA NORTHERN
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AI.N 2 05-890
ALN 6 05-906
ALN 6 05-907

AL.~‘\BAMA SOUTHERN
ALS l 05-277

ARKANSAS EASTERN
ARE 3 05-90
ARE 5 05-141

ARKANSAS W'ESTERN
ARW 6 05-6036

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CALH"ORNIA EASTERN

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CAE 2 05-914

CALlF()RNIA NORTHERN
CAN 3 05-]039

CASE C/`\PTION

Robert Ahernathey, etc. v. Merck & Co., Inc.
Dawn I<irkland v, Merc}< & Co_, lnc.

Wilbtir Clifford Davis v_ Mercl< & Co., lnc.
Douglas McArthur Fostcr v. Merck &_ Co`, Inc.

Hershel Carl Martin, Jr., et al. v. l\/‘lerck & Co., lnc.

Stephen Cool< v. Mercl< & Co., Inc,
William Beck v. Merck & Co., Inc.

John MLinro, et al. v. Mercl< & Co,, lnc.

Grant Desmet, et al. v. Merck & Co., Inc.
Scott Blair v. Mercl< & Co., Inc.

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Carol Davidson, et al_ v. Merck & Co., Inc.

Bi_iuli Pande v. Merck & Co., lnc.

 

 

CAN 3 05-1838 Glcn Martin, et al. v. Merck & Co., lnc.
CAN 3 05-1839 Roy J. Gramlich v. Merck & Co., Inc.
CAN 4 05-1947 Howard l\/Iathews, et al. v. Merck & Co., Inc.
CALIFORNIA SOUTHERN
CAS 3 65 943 ré\lvill ‘v‘vriliimlw \"_ik*/}C:L,i\ ge Cu., ill\.., x.i ai. OppOSCd 6/2‘-1/05
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GEORGlA MIDDLE
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CASE CAPTION

Robcn Lane v. Mercl< & Co_, Inc.

Mary Ann Canlwe]l v. Mcrck & Co., Inc.

Ruby While v. Merck &_ Co., Inc., el a].
Sigmund T. I<Iaszka, el alv v‘ Merck & CO., Inc

lane C. Baker, ecc. v. Merck & CO., Inc.

Ab`:gai] Alm v. Merck & CO., lnc.
Peter Cavari, et al. v. Merck & CO‘, Inc.
Launa Cobb v. Merck & Co., Inc.

Marinda Wilcy v. Merck & Co., lno
106 A. Brasw€ll v. Merck & CO., Inc.

Clarence L. Carr v. Merck & Co., Inc

Melvie Whitehead v. Merck & Co., Inc.
Mary C. Washington v. Merck & Cc)‘, Inc.
Louise H. Dallas v. Merc}< & Co., Inc.
Linda L. Pooie v. Merck & Co., Inc.
]-avada Sears v. Merck & CO., Inc.

James B. Smith, etc. v. Merck & Co., Inc

Calvin Kinghom v. Merck & CO., Inc.

Edward Lee Barrow, etc. v. Merck & Co., Inc.
Aldo Caiandra, et al_ v. Merck & Co., Inc.

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LOU§SIANA MIDDLE
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LOUIS]ANA WESTER_N {

LAW 2 05-827

Marilyn Fleming v Merck & CO., InC
Gary Willis v. Merck & CO.. , Inc.
Nancy Marcum v. Merck & CO., inc

Nancy L. Brockschmidt, elc_ v. Merck & CO., lnc,

Lynois LeBeau, et al. v. Merck & Co., Inc.

Geneva Thibodeaux, ct al., cl a]_ v. Merck & Co., lnc.

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MISSOURI EASTERN

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Eleanor Campzmale, etc. v. Mcrcl< & Co., 1110l

1\1arie Slanley v Merck & Co. lnc

Commonwealth Care AIIiance, et al v Mercl~< & Co Inc
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Hugh Nicholson, et al. v. Merck & Co., Inc.

l_ydia Chowning, etc. v. Merck & Co., Inc.

 

 

 

 

 

 

 

 

 

 

PvIIOI: 4 95 551 Dmm.h) Gmmcr, \.1 1;11.\.1\111.1\,1\ c.w. \_,v., 111\~. \.1 c11_. OppOS€d 6/23105
MOE 4 05-630 Lavona Nea] el al. v. Merck & C0. ,Inc et al

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1\1 OE 4 05-667 Margaret Molder et a1. v Mercl< & Co. 111<:. ,et al

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Susan Carol Fisher v. Merck & Co., Inc.

Ferdlnand Minibauer v, Merck & Co., Inc

Magda Wrighl, elc. v. Mercl< & Co‘, Inc

John Cc)lligan v. Mercl-: & Co., el al.

Willlam R. Crouns€, ct al. v_ Mcrck & Co., Inc.

Diane Reid v. Merck & Co., Inc., et al.

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CAS[ CAPTION

Dcnzll Mahon, et al v. Merck & Cc)\, 1111d
Eugene lllamihon v, Mercl-; & Co.__ lnc.
Vnginia Green v. Mercl< & Co., lnc.

Laura Grodek, el al. v, Merck & Co., Inc,
Julian D. Cohen, et al. v. Merck & Co., Inc.
Charles R. W`Lreman, et al. v. Merck & Co_, Inc

Mary Rose Couch, et al. v. Mcrcl< & Co_, Inc., el al.
Jud1111 K. Dmm v‘ Merck & CO., lnc,

Deloris Ivers, et al. v. Merck & Co,, Inc,

Steven Kniccly, et al v. Merck 81 Co., lnc.

Lynda chhardson, elc. v. Merck & Co., 1110.,::1211.
Nancy Brenner, et al. v, Mcrck & Co., lnc_, et al.
Henry J. Myers, et al. v. Merck & C0.,111c1

Delores M. Korman, et al. v. Merck & Co., Inc
Scott E. French, 61 al, v. Merck &, Co., Inc.

Robcrt E. Pierson, et al. v. l\/lerck & CO., Inc.
IFrederick Bianchlno, Jr,, et al. v. Merck & Cc)._. Inc.
Donald Payne, et al. v. Mercl< & Co., lnc., et al.

Bemard L. HOlleran, M.D. v. Mcrck & Co., lnc.
Timothy Lewis v. Merck & Co., Inc.

Mark A. Roberson v_ Mercl< & Co., Inc.

l\/licl<ey E. Curmingham, cl al. v. Merck & Co., [nc.
l~lerben L. Carmc)n, et al, v. Merck & Co., Inc.
Wendy A. Burke v. Merck & Co., Inc.

l,orra`me Sav\-ycr, etc. v, Mcrcl< & CG., Inc.

Betty Elaine Kreider, et al. v. Mercl< & CO., Inc., el al.

Evelyn S. Ellison v. Mercl< & Co., Inc., et al.

Teresa A. Davis v, Sarah C. Capocaccia, et al.
Kellah M Allgnnd et al v Merck & Co., Inc. ct al.
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VAE 3 05-202
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Pansy Adams, et al. v. Merck & Co., Inc.

Jimmy E. Davis v. Mcrck & Co., Inc.

Ambrose S. Chalam v. Mcrck & CO., lnc.
Ann Gail Newton, etc. v. Mcrcl< & Co., Inc.

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VAW 5 05-25 Michael L. Buracker v. Mcrcl< & CO., lnc, @5_2972
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WAE 2 05-124 Shirley Dubuque, ct al. v. Mcrck & Co., lnc. 05_2974
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WIW 3 05-78 janice Lane, elc. v. Merck & CO., Inc. ' 05_2975
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j INV()LVED COUNSEL LIST (CTO-ld)

DOCKET NO. 1657

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